OPINION — AG — ** WELFARE — PAYMENT BEYOND THE FISCAL YEAR ** SENATE BILL NO. 232 WHICH PROVIDES, " IF ANY RECIPIENT RECEIVES OVERPAYMENT OF ASSISTANCE UNDER THIS ACT, OR RECEIVES ASSISTANCE WHILE IN ELIGIBLE THEREFOR UNDER THIS ACT, THROUGH MISREPRESENTATION (FRAUD) OR CONCEALMENT OF MATERIAL FACTS, EITHER IN HIS ORIGINAL APPLICATION OR THEREAFTER, MATERIALLY AFFECTING THE AMOUNT OF ASSISTANCE (PAYMENTS), THE DEPARTMENT OF PUBLIC WELFARE MAY, UPON INVESTIGATION, EITHER CANCEL THE ASSISTANCE OR REDUCE THE AMOUNT THEREOF IN ACCORDANCE WITH THE CIRCUMSTANCES. (WELFARE PAYMENTS, OVERPAYMENTS, LIABILITY TO THE STATE) CITE: ARTICLE V, SECTION 53, 56 O.S. 166 [56-166], ARTICLE XXV, 56 O.S. 162 [56-162], 56 O.S. 167 [56-167], 56 O.S. 171 [56-171] (INDEBTEDNESS) (JAMES C. HARKIN)